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                                                                             USDC SDNY
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                                                                             ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                 DOC #:
SOUTHERN DISTRICT OF NEW YORK                                                DATE FILED: 10/20/2020
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 DIVERSE PARTNERS, LP, and TROY BANK & :
 TRUST COMPANY,                                                 :
                                                                :
                                              Plaintiffs,       :   16-CV-9526 (VEC) (KNF)
                                                                :
                            -against-                           :          ORDER
                                                                :
 AGRIBANK, FCB,                                                 :
                                                                :
                                              Defendant. :
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                                                                X
VALERIE CAPRONI, United States District Judge:

        WHEREAS on October 20, 2020, the parties appeared before the Court for a pretrial

conference; and

        WHEREAS the Court had tentatively scheduled a bench trial to begin on December 7,

2020;

        IT IS HEREBY ORDERED that a bench trial will begin in this case on February 22,

2021, in Courtroom 443, Thurgood Marshall U.S. Courthouse, 40 Foley Square, New York, NY.

As discussed at the October 20, 2020 conference, no further adjournments will be granted.

        IT IS FURTHER ORDERED that not later than October 23, 2020, the parties must

inform the Court whether they wish to have the Court refer the parties to Magistrate Judge Fox

for a settlement conference, whether they wish to have the Court refer the parties for

participation in SDNY’s mediation program, or whether they wish to engage a private mediator.

        IT IS FURTHER ORDERED that not later than November 13, 2020, the parties must file

a letter informing the Court of their proposal with respect to remote appearances and other

logistical considerations in advance of the February 22, 2021 bench trial. The parties are
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specifically instructed to address the remote platform they wish to use and any agreement

concerning who may appear remotely (i.e., witnesses, counsel, or both).



SO ORDERED.
                                                    _________________________________
Date: October 20, 2020                              VALERIE CAPRONI
      New York, New York                            United States District Judge




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